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                                                       U.S. Department of Justice

                                                       Channing D. Phillips
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530


                                                     August 12, 2021


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                       Re:    United States v. Kuehne et al.; 21-cr-160 (TJK)

Dear Defense Counsel:

        This letter serves to formally notify you of the following discovery that has been produced
to you via USAfx at the following link, which has previous been shared via e-mail:
https://usafx.box.com/s/ooybyl8qnjqh12yyo4lm6lhmvvtsb26h.

        Please note that a Protective Order governing this discovery was entered on May 4, 2021
(ECF no. 71). The Order governs discovery that is deemed either “Sensitive” or “Highly
Sensitive.”

       Prior to the Order being entered, on April 28 and May 3, 2021 the government disclosed
materials that were not subject to the Order, in a subfolder labeled “Pre-protective order
discovery.” The subfolder contained a total of 467 files for “FBI Files and Attachments” split into
subfolders for each defendant. Also produced approximately one dozen open-sourced videos.
Undersigned counsel notified each of you of this discovery via email.

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        After the Order was entered, on June 9, 2021, the government disclosed nine files,
specifically U.S Capitol surveillance video, marked as “Highly Sensitive” and 223 FBI files and
attachments, interviews, recorded phones calls, and U.S. Capitol Police photographs and videos
marked as “Sensitive” pursuant to the Order. The government additionally provided 24 files that
were not subject to the Order that had not been disclosed previously, which included other open
source videos and videos captured by Defendant Chrestman. Undersigned counsel again notified
each of you of this discovery via email.

        On June 23, 2021, the government disclosed one additional, 30-minute U.S. Capitol
surveillance video depicting your clients’ conduct near the “Crypt” of the Capitol, marked as
“Highly Sensitive.” The government added an additional 423 files marked as “Sensitive,” broken
down by defendant. Undersigned counsel again notified each of you of this discovery via email.

       As we have discussed, this discovery is ongoing. If you have any questions about the
materials provided, please feel free to reach out using the contact information listed below and
included in my emails.




                                            Sincerely,

                                            CHANNING PHILLIPS
                                            Acting United States Attorney


                                    By:               /s/
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